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      Earthworks Executive Director’s
      statement on violence in the U.S.
      Capitol
      Jennifer Krill | January 7, 2021




                       The white supremacists who stormed the U.S. Capitol Building violently assaulted
                       American democracy and provided a shameful culmination to the Trump
                       presidency.

                       Earthworks condemns the fatal attack that forced elected lawmakers out of the
                       Capitol as they were certifying the electoral college results — a hallmark of the
                       peaceful transition of power since the Constitution was ratified.

                       We cannot take our democracy for granted. Neither we nor any other
                       environmental organization can do our jobs, and protect communities,
                       biodiversity, and the global climate, without a functioning government grounded
                       on basic democratic freedoms.ǔ

                       The benefits of American democracy have accrued disproportionately to
                       different populations: communities of color are more likely to be disenfranchised
                       at the ballot box, and are disproportionately harmed by polluting industries.
                       Environmental racism is not abstract: it means that real people live with
                       poisoned air and water and suffer real harm.

                       That racism played out shamefully yesterday in the disparity between how violent
                       white extremists were treated in comparison to Black Lives Matter protesters, at
                       the same building. Freedom to protest is our Constitutional right. But where




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                        violent white extremists who assaulted the Capitol walked away freely, Black
                        Lives Matter protesters in the same city were battered, tear gassed, and arrested
                        en masse.

                        What has unfolded this week—a grassroots get-out-the-vote effort in Georgia
                        showing the power of a multiracial coalition led by Black women followed by a
                        white supremacist insurrection against our federal government—underscores the
                        need for us to be organizing within our own communities. A functioning
                        democracy must be responsible to all the people it governs.

                        Most immediately, the Vice President and remaining cabinet members have an
                        urgent constitutional obligation to declare Trump unfit to serve the short
                        remainder of his term in accordance with the 25th Amendment. Earthworks
                        endorses a House Resolution condemning and censuring those seeking to
                        overthrow the election and we are committed to supporting similar efforts as
                        they arise.

                        I have confidence that democracy will prevail. And I hope that this will serve as a
                        wake-up call that shocks our collective national conscience into strengthening
                        our democracy such that nothing like this ever happens again.




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